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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

                    CIVIL ACTION NO. 25-10432-RGS

                       LYDIA CURTIN-WILDING,
         individually and on behalf of all others similarly situated

                                     v.

                  TRUSTEES OF BOSTON UNIVERSITY

        MEMORANDUM AND ORDER ON MOTION TO DISMISS

                               May 23, 2025

STEARNS, D.J.

     Plaintiff Lydia Curtin-Wilding filed this putative class action against

defendant Trustees of Boston University (BU). She alleges that BU failed to

timely pay her wages on a weekly or bi-weekly basis, in violation of the

Massachusetts Wage Act, Mass. Gen. Laws ch. 149, § 148 (Wage Act). Curtin-

Wilding seeks statutory damages equal to three times the amount of her late

paid wages, plus interest and attorneys’ fees and costs. BU moves to dismiss

the Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). For the

following reasons, the court will deny the motion.

                              BACKGROUND

     Since August of 2015, BU, a private research institution of higher

education with campuses in Boston, employed Curtin-Wilding, a Rhode
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Island resident, as a salaried Lecturer. Compl. (Dkt. # 1) ¶ 13. BU paid

Curtin-Wilding on a monthly basis on or about the last business day of each

month, although Curtin-Wilding “never elected at [her] own option” to be

paid on a monthly basis. Id. ¶¶ 15, 18. She claims that BU’s policy resulted

in the wages that she and the putative class members earned in the first half

of the month from February 18, 2022, until August 1, 2023, being paid

approximately nine days late, in violation of the Wage Act. Id. ¶¶ 18, 23.

                           LEGAL STANDARD

      To survive a motion to dismiss under Rule 12(b)(6), a complaint “must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),

quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Two basic

principles guide the court’s analysis. “First, the tenet that a court must

accept as true all of the allegations contained in a complaint is inapplicable

to legal conclusions.” Iqbal, 556 U.S. at 678. “Second, only a complaint that

states a plausible claim for relief survives a motion to dismiss.” Id. at 679. A

claim is facially plausible if its factual content “allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”

Id. at 678. If the allegations in the complaint are “too meager, vague, or

conclusory to remove the possibility of relief from the realm of mere


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conjecture,” the complaint will be dismissed. SEC v. Tambone, 597 F.3d 436,

442 (1st Cir. 2010) (en banc).

                                 DISCUSSION

      The Wage Act “was intended and designed to protect wage earners

from the long-term detention of wages by unscrupulous employers.” Rueli

v. Baystate Health, Inc., 835 F.3d 53, 60 (1st Cir. 2016), quoting Melia v.

Zenhire, Inc., 462 Mass. 164, 170 (2012). The Act requires that:

      [e]very person having employees in his service shall pay weekly
      or bi-weekly each such employee the wages earned by him to
      within six days of the termination of the pay period during which
      the wages were earned if employed for five or six days in a
      calendar week, or to within seven days of the termination of the
      pay period during which the wages were earned if such employee
      is employed seven days in a calendar week.

Mass. Gen. Laws ch. 149, § 148; Rueli, 835 F.3d at 60. The Act allows private

plaintiffs to sue for treble damages, attorneys’ fees, and costs. Mass. Gen.

Laws ch. 149, § 148.

      To state a claim under the Wage Act, a plaintiff must allege that: (1) she

was an employee under the statute; (2) her form of compensation constitutes

a wage under the statute; and (3) the defendants violated the statute by not

paying her wages in a timely manner. Klauber v. VMware, Inc., 599 F. Supp.

3d 34, 46 (D. Mass. 2022), aff’d, 80 F.4th 1 (1st Cir. 2023). Here, there is no

dispute that Curtin-Wilding was an employee or that her form of


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compensation constituted wages within the meaning of the Wage Act. As a

Lecturer employed by BU since August of 2015, Curtin-Wilding plausibly

alleges that she received her wages on the last business day of the month

instead of bi-weekly or within six days of the termination of the pay period

during which her wages were earned – and that she never elected to be paid

on a monthly basis. See Compl. ¶¶ 6-7, 13, 17. Consequently, the Complaint

sufficiently pleads that the delayed payments violated the Act.

     BU contends that Curtin-Wilding “cannot avail herself” of the Wage

Act because she “does not have standing” as a Rhode Island resident who

worked remotely for BU. See Dkt. # 32 at 3. The application of the Wage Act

to extraterritorial employees of a Massachusetts-based employer is

determined by a choice-of-law analysis – in particular, which state has “the

more significant relationship” to the plaintiff’s employment. Viscito v. Nat’l

Plan. Corp., 34 F.4th 78, 83 (1st Cir. 2022); Dow v. Casale, 83 Mass. App.

Ct. 751, 756 (2013) (holding that an employee could bring a claim under the

Wage Act so long as Massachusetts had “the most significant relationship” to

the parties and to their employment situation). A state may apply its local

law provided “such application of this law would be reasonable in the light of

the relationship of the [S]tate and of other [S]tates to the person, thing or




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occurrence involved.” Dow, 83 Mass. App. Ct. at 756-757, quoting

Restatement (Second) Conflict of Laws § 9 (1971).

     At this stage, the court finds that Massachusetts, rather than Rhode

Island, has the “more significant relationship” to Curtin-Wilding’s

employment. See Viscito, 34 F.4th at 83. Here, Curtin-Wilding is employed

by BU, “a leading private research institution with two primary campuses in

the heart of Boston” and a principal place of business in Massachusetts.

Compl. ¶¶ 4, 11, 14. Although Curtin-Wilding allegedly teaches an online

program, she educates a student body which is enrolled at the

Massachusetts-based BU campuses. Compl. ¶ 14.

     The parties also dispute whether Curtin-Wilding is covered under a

Collective Bargaining Agreement between BU and the Service Employees

International Union, Local 509, and, consequently, whether her claim is

preempted by Section 301 of the Labor Management Relations Act of 1947,

29 U.S.C. § 185. See Dkt. # 24 at 2, 5; Dkt. # 30 at 10. However, when

resolving a Rule 12(b)(6) motion to dismiss, the court is confined to “the

complaint, documents attached to it, and documents expressly incorporated

into it.” Foley v. Wells Fargo Bank, N.A., 772 F.3d 63, 71-72 (1st Cir. 2014).

The Collective Bargaining Agreement, along with Curtin-Wilding’s

declaration that she is the Director for the Health Communications Program,


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are neither attached to nor expressly incorporated into the Complaint, and

therefore, are not properly before the court. The proper vehicle to allow the

court to consider material extraneous to the Complaint is by way of a motion

for summary judgment based on a more developed factual record.

                                 ORDER

     For the foregoing reasons, BU’s motion to dismiss the Complaint is

DENIED.

                                   SO ORDERED.

                                   /s/ Richard G. Stearns
                                   UNITED STATES DISTRICT JUDGE




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